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                                                          Exhibit 1

                                            4. STIPULATIONS

               1.        Firearms have been lawfully and privately owned in the United States

        since before the adoption of the Second Amendment to the United States Constitution,

        and at all times since.

               2.        Most firearm owners own more than one firearm. The full extent of

        private ownership is unknown, but half or more of all households claim that they do not

        own a firearm.

               3.        Since 2004, manufacturing of all types of handguns and rifles in the

        United States for sale to the non-military market has increased annually from

        approximately 2.35 million in 2004 to 5.49 million in 2011. In 2011, 224,000 rifles and

        handguns were exported, and 2.72 million were imported. Source: Bureau of Alcohol

        Tobacco, Firearms & Explosives, Firearms Commerce in the United States, Annual

        Statistical Update 2013, Exhibits 1-3.

               4.        The total number of handguns, rifles or shotguns in Colorado or the

        United States is not known.

               5.        There are hundreds of different firearm manufacturers, but the majority of

        firearms are produced by several dozen American and foreign manufacturers. There are

        thousands of different models of firearms, and often numerous variations of a given

        model. For example, the Ruger SR9 is a model of 9mm semi-automatic pistol that has at

        least four variants: 3301, 3309, 3312, 3321. The specifications on all four are the same,

        except the 3301 comes with a 17 round magazine in a brushed stainless finish; the 3309

        comes with a 10 round magazine in a brushed stainless finish; the 3312 comes with a 10




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        round magazine in a black nitride finish; the 3321 comes with a 17 round magazine in a

        black nitride finish.

                6.      Handguns predominantly include semi-automatic pistols and revolvers.

        No currently-manufactured revolvers hold more than 15 rounds. There are also other less

        popular styles of handguns, such as derringers, and other handguns with a one or two shot

        capacity. In its data reporting, the ATF classifies these guns as “other” and excludes them

        from “pistols” and “revolvers,” and none currently manufactured has a capacity greater

        than 15 rounds.

                7.      Long guns are rifles or shotguns. Some shotguns are single shot and some

        are double-barreled. Neither has an ammunition capacity of greater than 15. Some

        shotguns are pump action, lever action, bolt action, or semi-automatic. Most shotguns

        have one or two fixed magazine tubes each of 28 inches or less, and are not affected by

        HB 1224. A few shotgun models have magazine tubes longer than 28 inches and a few

        others models use detachable box magazines which can store more than 8 rounds of

        ammunition. These latter two types of shotguns are subject to the restrictions in HB 1224.

                8.      Rifles may be single shot, bolt action, lever action, pump action, or semi-

        automatic. There are numerous models of semi-automatic rifles, including those based on

        the popular AR-15 platform.

                9.      Bolt action rifles do not use magazine tubes that hold more than 15

        rounds. Some bolt action rifles use detachable box magazines of various sizes, but most

        hold less than 10 rounds. As with any detachable box magazine, such magazines may be

        of any size. Lever action rifles typically use tube magazines. Lever action rifles with tube




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        magazines are exempt from HB 1224. Additionally, rifles with tube magazines that can

        hold more than 15 rounds and that use .22 rimfire ammunition are exempt under HB 1224

               10.     More than 300,000,000 firearms are lawfully owned in the United States.

        A significant percentage of firearms privately owned are semi-automatic, most of which

        utilize a detachable box magazine. Although the total number is not known, the number

        of lawfully owned semi-automatic firearms that utilize a detachable box magazine with a

        capacity greater than 15 rounds is in the tens of millions.

               11.     After July 1, 2013, thousands of models and variants of firearms with

        detachable box magazines remain available for lawful purchase and use for home defense

        in Colorado. With very few exceptions, every gun that was available before July 1, 2013,

        is compatible with magazines holding 15 or fewer rounds. Similarly, after July 1, 2013

        many models and variants of magazines designed to hold 15 or fewer rounds remain

        available for lawful purchase and use for home defense in Colorado.

               12.     Several million AR-15 platform rifles have been lawfully purchased in the

        United States and are used for lawful purposes. In 2011, AR-15 platform rifles accounted

        for approximately 18% of all rifles made in the United States for the domestic market.

        Many of these are used by law enforcement officers in the line of duty and many are used

        by private citizens. There are a large number of other models of semi-automatic rifles,

        including from companies such as Ruger and Marlin, which use detachable box

        magazines and which have been lawfully purchased and used in the United States and

        Colorado. An unknown number of AR-15 platform and other semi-automatic rifles have

        been transferred or obtained unlawfully or used for unlawful purposes.




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               13.      The number of AR-15 platform or other semi-automatic rifles in Colorado

        is not known. The number of AR-15 platform or other semi-automatic rifles in Colorado

        equipped with magazines of more than 15 rounds is not known, but is less than the total.

               14.      All AR-15 platform rifles are semi-automatic and all utilize a detachable

        box magazine.

               15.      In states without laws regulating magazine capacity, AR-15 platform rifles

        are usually sold at retail with a detachable box magazine capable of holding up to 30

        rounds. In states without laws regulating magazine capacity, the majority of owners of

        AR-15 platform rifles use magazines with a capacity of 20 and/or 30 rounds.

               16.      All AR-15 platform rifles are capable of accepting and functioning

        properly with magazines of 15 or fewer rounds.

               17.      In 2011, the most recent year for which data is available, more than 2.5

        million pistols were manufactured nationally; more than 500,000 revolvers were

        manufactured nationally.

               18.      HB 1224 does not prevent a manufacturer from shipping to Colorado a

        semi-automatic rifle or pistol without any magazine, or with a magazine that complies

        with HB 1224.

               19.      Semi-automatic firearms equipped with detachable box magazines with a

        capacity greater than 15 rounds are used for multiple lawful purposes, including

        recreational target shooting, competition shooting, collecting, hunting, and are kept for

        home defense and defense outside the home.

               20.      Semi-automatic pistols and rifles cannot function as designed without a

        magazine. Semi-automatic firearms are designed to discharge a bullet for each pull of the



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        trigger, automatically extract and eject the spent cartridge case from the firing chamber,

        re-cock the firing mechanism, and load a new cartridge into the firing chamber so it can

        be fired again with another pull of the trigger.

               21.     Detachable magazines can be purchased independently of firearms,

        including for use with semi-automatic rifles and semi-automatic pistols. The most widely

        utilized firearm magazine is a detachable box magazine. Detachable box magazines come

        in a wide variety of capacities.

               22.     Many full-sized 9mm semi-automatic pistols are sold at retail with

        magazines with capacities of greater than 15, for example the Glock 17, which is one of

        the most popular handguns sold in the United States. The Glock 17 is often used by law

        enforcement personnel. Nine millimeter handguns come with a variety of magazine sizes,

        including 15 or fewer rounds. Compacts and sub-compact handguns are sold at retail with

        magazines of 15 or fewer rounds.

               23.     Most semi-automatic pistols in calibers of .40 or larger are not sold at

        retail with magazines capable of holding more than 15 rounds. Some owners of such

        handguns use extenders which add 1, 2, or 3 rounds of capacity.

               24.     No semi-automatic pistols in calibers of .45 are sold at retail with

        magazines capable of holding more than 15 rounds.

               25.     Although the total number of magazines of any size in the United States is

        not known, the number of large capacity magazines is in the tens of millions. There are

        also tens of millions of magazines in sizes of 15 rounds or less.




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               26.      Although the total number of magazines of any size in Colorado is not

        known, the number of large capacity magazines is in the millions. There are also millions

        of magazines in sizes of 15 rounds or less.

               27.      With some exceptions, manufacturers of semi-automatic pistols that have

        standard magazines that hold more than 15 rounds also manufacture magazines with a

        capacity of 15 rounds or less. Aftermarket manufacturers also make and sell magazines

        with a capacity of 15 rounds or less. In the current market, for semi-automatic pistols and

        rifles for which the standard magazine is greater than 15 rounds and for which a

        substitute magazine is available, the substitute magazine’s capacity is often 10 rounds.

        Fifteen round magazines also are commercially available for AR-15 platform rifles and

        some pistols.

               28.      Magazines with a capacity of 15 or fewer rounds are manufactured in the

        United States and are available for purchase in Colorado.

               29.      Many law enforcement agencies, including the Colorado State Patrol and

        the Federal Bureau of Investigation, issue handguns as duty weapons that have magazines

        containing 15 or fewer rounds. Some officers in these agencies are authorized to carry

        semi-automatic rifles with large capacity magazines in addition to the sidearm issued by

        their employers.

               30.      Firearm magazines can become non-operational due to normal wear and

        tear or other damage. The lifespan of any firearm magazine cannot be known and varies

        based on materials, design, maintenance and use, as well as several other factors. As with

        any mechanical device, magazines can become non-functional over time. Depending

        upon use and maintenance, magazines may operate properly for decades or more.



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               31.     Components such as limiters that can decrease the capacity of magazines

        are manufactured and are available for purchase in the United States.

               32.     There are magazines manufactured to accommodate no more than fifteen

        rounds of ammunition that can be converted to accept additional ammunition.

               33.     Base and floor plates (on box magazines) and end caps (on tube

        magazines) may be either removable or permanently affixed. However, most magazines

        contain removable base and floor plates or end caps.

               34.     Removable base and floor plates and end caps allow for cleaning and

        maintenance and repair.

               35.     A removable base or floor plate or end cap alone does not increase a

        magazine’s capacity.

               36.     Magazines with removable base or floor plates or end caps may accept

        additional components, such as extensions, that increase capacity.

               37.     Components that can increase the capacity of magazines are manufactured

        in the United States.

               38.     After July 1, 2013, the following models of Magazines manufactured by

        Magpul may not be sold to individuals in Colorado: MAG557 – 30 rounds; MAG556 –

        30 rounds; MAG570 – 30 rounds; MAG571 – 30 rounds; MAG560 – 20 rounds;

        MAG555 – 30 rounds; MAG291 – 20 rounds; MAG234 – 30 rounds; MAG241 – 30

        rounds; MAG292 – 25 rounds.




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               39.    Magpul has lost the revenue associated with the inability to sell the model

        magazines listed in No. 38 above to customers in Colorado after July 1, 2013.

               40.    Because Magpul principally sells to distributors, it does not know the

        precise number of magazines that it manufactures that are sold in Colorado and therefore

        cannot know the actual amount of lost sales revenue. Magpul also sells through direct

        Internet sales, and sold at least 500,000 magazines to Colorado residents in 2013 before

        the effective date of HB 1224. Sales in Colorado in 2013 were inflated by increased

        demand to purchase Magpul magazines prior to the effective date of HB 1224.

               41.     Magpul has more than $100 million in total sales annually. Magpul had

        more than $7.5 million in sales of magazines to Colorado alone in 2013. Magpul had a

        Colorado “spend” of $46 million in 2012 and expected to have a Colorado spend of $85

        million during 2013.

               42.    Between 20% and 50% of Magpul total magazine sales are to government

        entities (International, Federal, and State) depending on numerous variables, such as

        troop deployments. For example, in 2010, Magpul entered a 4-year contract with the

        British Army to deliver 1,000,000 thirty-round magazines.

               43.    In 2013, Magpul sold more magazines in Colorado than in any prior year.

               44.     Colorado law enforcement officers and agencies may acquire and possess

        the Magpul magazines listed in No. 1 above. Pursuant to HB 1224, any Colorado FFL or

        distributor may still purchase the Magpul model magazines listed in No. 38 above to sell

        the magazines out of state or in any other manner permitted by law.

               45.    In December 2012, Magpul announced new magazines with a 10-cartridge

        capacity -- the MAG559 and MAG290. The magazines began shipping in April 2013.



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        Both models are sold direct to individuals in Colorado. Both models are manufactured

        with the same materials and are tested to be just as functional and reliable as Magpul

        magazines of higher capacity. The MAG559 and MAG290 are marketed by Magpul as

        being “Perfect for hunting applications, depending on local hunting laws, and also for

        states where overall capacity is limited.”

               46.      Magpul manufactures nearly 500 products for sale worldwide.

               47.      Magpul manufactures and sells dozens of products for AR styled semi-

        automatic firearms unaffected by HB1224, including stocks, slings, grips and sights.

               48.      Magpul manufactures magazine accessories – many designed to facilitate

        changing magazines of any size – including magazine couplers, magazine loops and

        speed plates.

               49.      Magpul manufactures and sells magazine limiters in all states in 5 and 10

        round configurations.

               50.      To date, Magpul has not chosen to manufacture a 15 round magazine.

               51.      Magpul does not manufacture a product to extend any of its magazines to

        hold a larger capacity. Magpul does not manufacture a product designed to extend the

        capacity of any semi-automatic magazine made by any manufacturer.

               52.      All of Magpul’s magazines feature a removable baseplate. This design

        feature allows for ease of access to the magazine’s internal parts for cleaning and

        maintenance.

               53.      Magpul designs and manufactures high-quality magazines, many of which

        meet or exceed military grade standards.




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              54.     Magpul has not modified its standard magazines in order to sell them into

       states that have enacted magazine capacity restrictions.

              55.     Magpul does not design its magazines or magazine components to

       function with other companies’ accessories.

              56.     Magpul gave away thousands of magazines in Colorado in June 2013.

       Certain promotional magazines were manufactured with different imprinted logos,

       including “Boulder Airlift”, “Free Colorado” and “1999 2013.”

              57.     Since at least 2007, Magpul has manufactured all its magazines with a

       manufacturing date stamp.

              58.     Magpul is currently operating in Colorado. As reported in multiple outlets,

       Magpul plans to relocate operations outside of Colorado.

              59.     Between March 1 and June 30, 2013, Magpul gave Colorado residents

       priority in ordering magazines with 20- or 30-round capacity.

              60.     Magpul describes firearm magazines in its literature as follows: “We ask a

       lot from this little box, without which our firearms become far less useful. This ‘simple’

       feeding device can easily be taken for granted…until it doesn’t work.”

              61.     Since July 1, 2013, Magpul has and will continue to sell or donate

       magazines to law enforcement agencies located in Colorado as well as law enforcement

       agencies in other states.

              62.     Richard Fitzpatrick, Doug Smith, Libardo Jimenez, Jessica Johnson, and

       Tara Heller are all current employees of Magpul.




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